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CLEVELAND

By Hand-Delivery

July 23, 2018

Clerk’s Office
United States District Court for the Northern District of Ohio

S01 W Superior Avenue
Cleveland, OH 44113

Re: Application for DMCA Subpoena

Dear Sir or Madam:

I respectfully request that the Clerk issue a subpoena pursuant to 17 U.S.C. § 512¢h).

By way of background, Section 512¢h) of the Digital Millennium Copyright Act provides that a
“copyright owner or a person authorized to act on the owner’s behalf may request the clerk of
any United States District Court to issue a subpoena to a service provider for identification of an
alleged infringer in accordance with this subsection.” 17 U.S.C. § 512(h)(1). For a subpoena to
be issued, Section 512(h) requires that a copyright owner file the following with the Clerk:

(1) A copy of the notification required by Section 512(c)(3)(A);

(2) A proposed subpoena; and
(3) A sworn declaration to the effect that the purpose for which the subpoena is sought is to
obtain the identity of an alleged infringer and that such information will only be used for

the purpose of protecting rights under this title.

Accordingly, attached for filing with the Clerk are at least one notification pursuant to Section
512(c)(3)(A), a proposed subpoena, and a sworn declaration. As I have complied with the
requirements of the statute, I ask that the clerk pursuant to Section 512(h)(4) expeditiously issue
and sign the proposed subpoena and return it for service on the subpoena recipient.
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Under penalty of perjury I certify that the purpose of the subpoena sought is to obtain the identity
of an infringer, and that such information will only be used for the purpose of protecting rights
under this title, which may include pursuing criminal charges against the infringer to prevent
further copyright infringement. | am the owner of the copyright(s) involved and/or have the
authority to act on behalf of the owner of the copyright(s) involved.

Thank you for your cooperation and prompt response in this matter. If you have any questions, |
am reachable by phone at +1 415 670 9350 or by e-mail at aaron.greenspan@ plainsite.org.

Sincerely ,

(Dou egp

Aaron Greenspan

Enclosures
